                                    IN THE
                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              DANVILLE DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                Plaintiff,                    )
                                              )
v.                                            )      Criminal No. 4:18CR00011-08
                                              )
ASHLEY TIANA ROSS,                            )
                                              )
                Defendant.                    )


     SUPPLEMENTAL MEMORANDUM IN SUPPORT OF OBJECTION TO
            UNITED STATES’ PROPOSED TRIAL EXHIBIT

        The United States has served notice that it intends to offer into evidence a

transcript of excerpts of defendant Ashley Tiana Ross’s grand jury testimony (P Ex.

1800, attached here as Ex. A). 1 Ross submits the following supplemental memorandum

in support of her objections.

        To begin, Ross submits that the audio recording or her grand jury testimony, and

not the transcript itself, should be received into evidence. The transcript is merely an aid

to enable the jury to follow along with the recording and should be removed from the jury

after the recording is played. To do otherwise would place undue emphasis on the

transcript itself.   And, the transcript fails to reflect the volume and tone and other

dynamics of the questioning which often informs the response.




1
 Though Ross offers the government’s redacted transcript here (Ex. A), the proposed
redactions must be read within in the context of the entire transcript. To aid that effort,
Ross will deliver redacted (Ex. A) and unredacted (Ex. B) paper copies of the transcripts
to the Court and the United States following the filing of this memorandum.
          Next, as will be shown, in many instances the government offers evidence that

is not relevant or otherwise inadmissible; in others it has redacted admissible evidence.

       First, the United States has redacted page 38, line 4 – page 43, line 1. Ross does

not object to most of the redaction portion, but she does object to redaction of page 38,

lines 16 – 19,

       038:16    Q. Are you a gang member?

       038:17    A. No.

       038:18    Q. Pretty adamant about that.

       038:19    A. I'm sure.

       Ross’s denial that she “is” a gang member is obviously relevant 2 and should not

have been redacted.

       Next at issue is page 43, line 2 – page 44, line 5,


       043:02 Q. Have you ever heard of the Millas?

       043:03 A. Yeah.

       043:04 Q. Who are the Millas?

       043:05 A. I think they a Blood set. I don't know.

       043:06 Yeah, I think they are a Blood set.

       043:07 Q. And how do you know that?

       043:08 A. Facebook.

       043:09 Q. Who, did the Millas and the Rolling Sixties

       043:10    get along?



2
 A better question would have been whether Ross was a gang member during the time
period referenced in the indictment and not as of the date of her grand jury testimony.
                                             2
       043:11   A. I don't know, yeah, yeah, somebody and them

       043:12   do, yeah.

       043:13   Q. And when did the Millas, a Blood set, and

       043:14   the Rolling Sixties, a Cripp set, when did they start

       043:15   getting along, do you know?

       043:16   A. No.

       043:17   Q. When did they start getting along?

       043:18   A. I don't know. When they started, I don't

       043:19   know.

       043:20   Q. As long as you've known, have they gotten

       043:21   along?

       043:22 A. Yeah, I guess, yeah.

       043:23   Q. Are the Millas from the north side?

       043:24   A. I don't know.

       043:25   Q. Do you know anyone who associates with the

       044:01 Millas?

       044:02 A. No.

       044:03 Q. Have you ever heard of the Millas and the

       044:04 rolling Sixties tying the flag?

       044:05 A. I saw it on Facebook.


       Ross submits that the italicized portions of the excerpt are not admissible because

Ross does not have personal knowledge of the matters asserted; her answers are based on




                                            3
hearsay, that is, her review of Facebook postings 3 (if the United States has those

Facebook postings, they can obviously offer them through a proper witness); and her

answers are speculative and improper opinion evidence. And with respect to page 43,

lines 9 – 22, the question and answer simply do not make sense.

       Next, Ross objects to the following excerpt under FRE 402 on the grounds that

whether Ross had an active Facebook account at the time of her grand jury testimony in

May 2018, or whether she deactivated her Facebook account for any particular reason, is

not relevant to any matter charged by the indictment.        And, because the line of

questioning could tend to prejudice Ross in the eyes of the jury, she also objects under

FRE 403. The excerpt in question is as follows,


       075:17   Q. Is your Facebook account still active?

       075:18   A. No, not right now, no.

       075:19   Q. When is the last time you've been on

       075:20   Facebook?

       075:21   A. Yesterday after I got off work maybe.

       075:22   Q. And it's not active today? When did you

       075:23   shut your Facebook account down?

       075:24   A. I don't know. Some time last night.

       075:25   Q. Why did you shut your Facebook account down

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       076:01 before coming to testify in a Federal Grand Jury.



3
 Such questioning is the functional equivalent of asking a witness whether Facebook says
what it says about any particular matter. This is obviously improper.
                                            4
076:02 A. I do it like every other night.

076:03 Q. Why do you turn it off?

076:04 A. I don't know. I just do.

076:05 Q. Ms. Ross, come on. You're under oath,

076:06 you're in front of the Grand Jury. Why do you turn

076:07 your Facebook account off at night? Are you worried

076:08 about people looking at it?

076:09 A. Am I worried about people looking at it?

076:10   Q. Why do you turn your Facebook account off at

076:11   night?

076:12   A. I just do it. I mean, I guess, I don't

076:13   know. Honestly, I turned it off today because I

076:14   don't, how can I put it?

076:15   Q. Put it truthfully.

076:16   A. My kids is on my Facebook and I don't want

076:17   my kids, them to be brought up in, yeah, so I, yeah,

076:18   that's why I took it down today.

076:19   Q. And do you take it down every day so that

076:20   your kids can't be monitored?

076:21   A. No, I've been taking it down the last few

076:22   days because Facebook just been doing too much. And I

076:23   already said I was going to deactivate it anyway. I

076:24   just, Facebook is too much.



                                       5
       076:25   Q. And did you start taking your Facebook

       077:01 account down during, after, or before you got served

       077:02 with the Grand Jury subpoena?

       077:03 A. I took it down after and a little bit

       077:04 before.

       077:05 Q. Why?

       077:06 A. It was on and off.

       077:07 Q. Why?

       077:08 A. I don't know.


       Next, the following line of questioning concerning who lived at North Hills

apartments and related matters is not relevant and should therefore be excluded under

FRE 402,


       091:14   Q. Now when you, and let's restrict it to the

       091:15   summer of 2016, when you were living at North Hills

       091:16   Court, did you know anyone else who was living there

       091:17   in other apartments?

       091:18   A. I knew Ashanna.

       091:19   Q. Who is Ashanna?

       091:20   A. She do makeup and stuff.

       091:21   Q. Do you remember her last name?

       091:22   A. Ah, shoot. Shoot. I don't remember. Is it

       091:23   Smith? I don't remember.



                                             6
091:24   Q. And which apartment or building did she live

091:25   in?

092:01 A. I don't know the number, but it wasn't my

092:02 actual building. But maybe the next building over.

092:03 Yeah, the next building over.

092:04 Q. Would looking at that map of North Hills

092:05 Court refresh your memory?

092:06 A. It was 109.

092:07 Q. I'm sorry?

092:08 A. One oh nine.

092:09 Q. So Ashanna lived in 109?

092:10   A. Yes.

092:11   Q. Do you remember which apartment letter?

092:12   A. No.

092:13   Q. Do you remember which floor?

092:14   A. I think she was the third floor, too, the

092:15   last floor, the top. Yeah.

092:16   Q. And who were the names of the other people

092:17   living with her?

092:18   A. As far as I know, she was living by herself.

092:19   Q. You never heard of anyone staying with her?

092:20   A. No. Because when she, I don't know.

092:21   Because when she first moved up there, I wasn't



                                      7
092:22   talking to her. But I remember her saying she did get

092:23 the apartment with somebody, but I think they left her

092:24   with the apartment. But I just don't remember who.

092:25   Q. And did you ever go over to Ashanna's

093:01 apartment?

093:02 A. Not like that. Like back when me and my

093:03 best friend first moved over there, but, no, not like

093:04 that.

093:05 Q. And who else stayed at Ashanna's apartment?

093:06 A. Her. She had a boyfriend at the time.

093:07 Q. Who was that?

093:08 A. His name was Taiquan.

093:09 Q. Taiquan?

093:10   A. Yeah.

093:11   Q. Do you remember Taiquan's last name?

093:12   A. No, but it was Taiquan.

093:13   Q. So Taiquan, and I assume you mentioned that

093:14   because he would stay over there sometimes? If they

093:15   were dating.

093:16   A. They was together.

093:17   Q. Who else would stay over with them?

093:18   A. I don't really know. I don't know.

093:19   Q. You don't know?



                                      8
093:20   A. No. Who would stay with her, no.

093:21   Q. Who would hang out there?

093:22   A. I know Tredarius was over there one time.

093:23   That's, I don't know, I don't know.

093:24   Q. If I say the name Doc to you, does that ring

093:25   a bell?

094:01 A. Yeah, I know Doc.

094:02 Q. Who's Doc?

094:03 A. Doc. We went to school together.

094:04 Q. Is he a guy?

094:05 A. Yes, yeah.

094:06 Q. You ever see him hang out in North Hills

094:07 Court?

094:08 A. Yeah.

094:09 Q. Yeah? Where did he stay, where did he hang

094:10 out at North Hills Court?

094:11   A. He used to be there, but I don't know if he

094:12   used to stay there. But he used to be there.

094:13   Q. When you say be there, where are we talking

094:14   right now?

094:15   A. Doc. About Doc.

094:16   Q. When Doc would hang out there, is there any

094:17   ...



                                     9
094:18   A. Oh, at Ashanna's house.

094:19   Q. Let me ask the question again and make sure

094:20   we get it right. When Doc was at North Hills Court,

094:21   where would he hang out?

094:22   A. At Ashanna's house.

094:23   Q. Okay, so I'm sorry, I interrupted you

094:24   earlier. You said you knew an Ashanna who lived at

094:25   North Hills Court. Did you know anyone else living at

095:01 North Hills Court or staying at North Hills Court?

095:02 A. I knew Tenikqua, Taniqua, and Shanicqua.

095:03 Q. Tenikqua, Taniqua, okay. Let's start with

095:04 the first one. Who's the first one you mentioned?

095:05 A. Tenikqua.

095:06 Q. And how do you spell her name?

095:07 A. T-E-N-I-K-Q-U-A.

095:08 Q. And what's her last name?

095:09 A. Fuller.

095:10   Q. Same Tenikqua Fuller we've been talking

095:11   about today?

095:12   A. Yes.

095:13   Q. And which building did she live in?

095:14   A. One fifteen. Yeah, 115.

095:15   Q. Do you remember the letter?



                                      10
095:16   A. No.

095:17   Q. Do you remember what floor?

095:18   A. Bottom.

095:19   Q. And did that apartment also like yours face

095:20   out on the parking lot?

095:21   A. Yes.

095:22   Q. And who was staying with her?

095:23   A. Well, Tae wasn't, Taniqua. I think she had

095:24   moved out, I want to say she had moved out.

095:25   Q. Well, let me ask you this. Was there a

096:01 period of time when somebody named Taniqua Guy was

096:02 staying with Tenikqua Fuller?

096:03 A. Yeah, that's who I'm talking about, yes.

096:04 Q. And do you remember when Taniqua Guy moved

096:05 away from North Hills Court?

096:06 A. She moved maybe the end of June.

096:07 Q. Twenty sixteen?

096:08 A. Yes.

096:09 Q. And after Taniqua Guy moved away from North

096:10   Hills Court, did she come back and hang out, though,

096:11   sometimes.

096:12   A. Not often. Not often.

096:13   Q. And you said Shanicqua.



                                    11
096:14   A. Yes.

096:15   Q. Did Shanicqua, is this Shanicqua Coleman?

096:16   A. Yes.

096:17   Q. And did Shanicqua Coleman also stay or live

096:18   with Tenikqua Fuller and Taniqua, or Tenikqua Fuller,

096:19   period?

096:20   A. Yes.

096:21   Q. Can I ask that question all over again

096:22   because I messed it up?

096:23   A. Okay.

096:24   Q. Was there a time when Shanicqua Coleman

096:25   lived with Tenikqua Fuller at North Hills Court?

097:01 A. Yes.

097:02 Q. What time was that, what period of time? Do

097:03 you remember?

097:04 A. I don't remember when she moved in, but, I

097:05 don't know, she, I don't know. Probably, I don't

097:06 know, she probably was there when they first moved in.

097:07 And I think they first moved in, in like May 2016.

097:08 But she, I think she was there when Tae moved out.

097:09 Q. And when did they move out, Tenikqua Fuller

097:10   move out?

097:11   A. I don't know exactly when, but not too far



                                    12
097:12   after I did maybe.

097:13   Q. And Shanicqua Coleman had a child at that

097:14   time, right?

097:15   A. Yes.

097:16   Q. Aiden?

097:17   A. Yes.

097:18   Q. And was Aiden living with her and Tenikqua

097:19   Fuller and for a period of time Taniqua Guy at that

097:20   apartment in Building 115?

097:21   A. Yes.

097:22   Q. Was there anyone else that was staying in,

097:23   let's call it Tenikqua Fuller's apartment, in 115. Is

097:24 there anyone else that was staying or living there

097:25   while you lived at North Hills Court?

098:01 A. Besides the baby and Shanicqua, I mean, her

098:02 and Kevin, they was, I don't know what they was, but.

098:03 Q. Who's the her in your sentence?

098:04 A. Tenikqua.

098:05 Q. Fuller?

098:06 A. Yes.

098:07 Q. Is there a period of time when Kevin Trent

098:08 and Tenikqua Fuller dated?

098:09 A. Yes.



                                     13
       098:10    Q. And do you remember that time period, from

       098:11    when to when?

       098:12    A. Uh-uh (Indicating negatively).

       098:13    Q. Is it fair to say that they were dating

       098:14    during the summer of 2016 when all of you all were

       098:15    living over at North Hills Court?

       098:16    A. On and off you could say, yes.

       098:17    Q. And would he come over and hang out at North

       098:18    Hills Court to stay with her or hang out with her?

       098:19    A. Yes.

       098:20    Q. And the her [sic] is Tenikqua Fuller?

       098:21    A. Yes.

       098:22    Q. And because he was dating Tenikqua Fuller,

       098:23    did he stay the night to your knowledge?

       098:24    A. Yes.


       Next, Ross does not object to the proposed redaction from page 101, line 8 – 104,

line 8, but submits that the following portions of that proposed redaction — page 101,

line 9 – 102, line 5 (concerning Phillip Miles use of the back Impala), and 103, line 11 –

104, line 8 (concerning Ross’s efforts to cooperate) — are relevant and should not have

been redacted,


       101:09 Q. Who else would drive that car around, that

       101:10    black Impala?



                                             14
101:11   A. I don't, him I know. I don't know who he

101:12   used to let drive it, but him and maybe Tyson

101:13   sometimes. I don't know. I guess whoever got a

101:14   license.

101:15   Q. And why was the car registered in your name

101:16   and not Phillip's name?

101:17   A. I don't know. That's a good question. I

101:18   don't know. I'm trying to think did he have a license

101:19   at the time. Yeah, he had a license. I don't know

101:20   honestly. It was just in my name.

101:21   Q. Do you recall any conversation about why the

101:22   car would be in your name and not in his name?

101:23   A. I'm sorry?

101:24   Q. Do you ever, did you and Phillip ever have a

101:25   conversation about why the car was registered in your

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102:01 name and not his name?

102:02 A. No.

102:03 Q. Is it so the police couldn't take it if he

102:04 was arrested?

102:05 A. No, because I used to tell him to take it.


                                     ...




                                      15
103:11   Q. Anything you want to report to the Grand

103:12   Jury about what the FBI agent did during the break?

103:13   A. No, he nice. Oh, wait, can I say something?

103:14   Q. Of course you can.

103:15   A. When you asked me who I told that I was

103:16   here, I told my job.

103:17   Q. Thank you for remembering to be precise.

103:18   A. Okay.

103:19   Q. And you had no trouble getting let out by

103:20   your job to come here today?

103:21   A. No, I told her as soon as I received the

103:22   paper.

103:23   Q. And they didn't give you any hassle about

103:24   coming down, coming here?

103:25   A. No, not really, no.

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104:01 Q. Will you let me know if they give you

104:02 hassle?

104:03 A. Yes.

104:04 Q. Now when we broke, we were talking about all

104:05 the different people who were sort of living at North

104:06 Hills during the summer of 2016. Does that sound




                                    16
       104:07 about right?

       104:08 A. Yes.


       Next, although the United States offers a portion of Ross’s testimony concerning

the shooting of Tanasia Coleman’s finger on June 15, 2016 (page 104, line 9 – 105, line

13) concluding with the question, “[o]kay, what happened?” (page 105, line 6), the

government has redacted the bulk of Ross’s testimony concerning the incident, leaving

the jury with the false impression that Ross knew little about it or is hiding information.

Having opened the door to that line of questioning, the following portions of Ross’s

testimony should be included (i.e., not redacted) under FRE 106 and 402,


       105:14    Q. Who went outside?

       105:15    A. Tanasia.

       105:16    Q. Was she texting or calling with anyone

       105:17    before she went outside?

       105:18    A. No. No, not that I, no.

       105:19    Q. And while you guys were hanging out having

       105:20    pizza, was Tredarius hanging, texting or calling

       105:21    anyone?

       105:22    A. No, we didn't even get a chance to eat,

       105:23    honestly. No.

       105:24    Q. And according to your testimony under oath,

       105:25    Nasia just randomly walked outside?

       106:01 A. She said she was going to the car to get



                                              17
106:02 something.

106:03 Q. And she went outside.

106:04 A. Yes, she went outside and I just heard

106:05 gunshots and I heard her screaming. And at first I

106:06 didn't, at first I didn't know where she was hit

106:07 because, I don't know, at first I didn't see her.

106:08 Then eventually I saw her and some man, I don't know

106:09 who he was, he had got to her before I did.

106:10   Q. Did you hear of anything about the Philly

106:11   boys before Nasia went outside?

106:12   A. The Philly boys?

106:13   Q. Right, did you hear any discussion about the

106:14   Philly boys before Nasia went outside?

106:15   A. It, I don't know. It was something about

106:16   them, I don't know.

106:17   Q. Okay, what was that something about them

106:18 that you heard before Nasia went outside?

106:19   A. All I know is her, I don't know what the

106:20   situation was, what her and them. I don't know if

106:21 they was, I don't understand. I just know it was

106:22   something with them and Nasia.

106:23   Q. What do you remember? Sitting here today

106:24   under oath, what do you remember?



                                     18
106:25   A. Well, she used to talk to one of them and I

107:01 don't know if it was a situation about them trying to

107:02 say she stole something or I don't know what the

107:03 situation was. But, yeah.

107:04 Q. And was there a conversation about that

107:05 before Nasia went outside to the car?

107:06 A. Yeah. Yeah.

107:07 Q. And was that conversation with you and Nasia

107:08 and Bubba? And Bubs, I'm sorry. Or Tredarius. You

107:09 call him Tredarius, right?

107:10   A. Yes.

107:11   Q. Was that conversation about the Philly Boys

107:12   and the theft, was that something that you, Nasia, and

107:13   Tredarius were talking about before Nasia went

107:14   outside?

107:15   A. We was asking her what was going on.

107:16   Q. And what was she saying?

107:17   A. She didn't know. She didn't, she didn't

107:18   know or she, basically she didn't know or she didn't

107:19   do nothing to them or something like that.

107:20   Q. And when she went outside, how long was she

107:21 outside before you heard, did you hear any gunshots?

107:22   A. Yes.



                                    19
107:23   Q. How many?

107:24   A. I don't, a whole lot.

107:25   Q. And where were they coming from?

108:01 A. Outside.

108:02 Q. Behind your apartment or in front of your

108:03 apartment, to the side, from where outside?

108:04 A. In the front. Yeah, in front.

108:05 Q. And how long was Nasia outside before you

108:06 heard the gunshots?

108:07 A. I didn't time it, I don't know.

108:08 Q. A couple of minutes, a couple of hours?

108:09 A. I don't know. I was, maybe minutes.

108:10   Q. And you don't remember how many minutes?

108:11   A. No.

108:12   Q. And where was Bubs at the time of the

108:13   shooting? I mean, Tredarius, where was Tredarius at

108:14   the time of the shooting?

108:15   A. In the house.

108:16   Q. He was in the apartment with you?

108:17   A. Yes.

108:18   Q. He wasn't outside?

108:19   A. No.

108:20   Q. Did Tredarius do anything when the shooting



                                     20
108:21   began?

108:22   A. Did he do anything? No. I wasn't in the

108:23   room with him.

108:24   Q. Where were you when the shooting started?

108:25   A. In my daughter Harmony's room.

109:01 Q. And where was Tredarius at the time the

109:02 shooting started?

109:03 A. He was in the living room.

109:04 Q. And then you heard the gunshots and what

109:05 happened?

109:06 A. I heard the gunshots and I heard Nay. Well,

109:07 I heard the gunshots and then there was just silence

109:08 then. I heard her screaming. Yeah, I heard her

109:09 scream.

109:10   Q. And what did you do when you heard Nasia

109:11   screaming?

109:12   A. I ran to the door and I turned around. I, I

109:13   don't know. I was freaking out and I put my daughter

109:14   in her bed. And then I finally ran outside when I

109:15   realized where she was. But the man was already

109:16 there. I had ran to her. Yeah, I had ran to her.

109:17   Q. And where was Nasia when you ran to her?

109:18   A. She was, I know she was in, she was in front



                                     21
109:19   of my building but not like actually in front of my

109:20   building. But like in front of my building in like a

109:21   parking spot, parking space.

109:22   Q. Was she in a car or outside of a car?

109:23   A. Outside.

109:24   Q. Did she have a car at this time?

109:25   A. No.

110:01 Q. So whose car was she supposedly going to?

110:02 A. Nobody's car. She was just, she just was

110:03 beside a car.

110:04 Q. I'm sorry, earlier you testified under oath

110:05 that Nasia said she was going out to the car to get

110:06 something.

110:07 A. Oh, yes, my car, yes. Yes. But she wasn't

110:08 beside my car when ...

110:09 Q. When you ran outside?

110:10   A. Yeah.

110:11   Q. And when you ran outside and you saw Nasia,

110:12   did you see anyone else?

110:13   A. The man that had, the man that had helped

110:14   and Bub had eventually come outside.

110:15   Q. You didn't see anyone else outside that you

110:16   recognized?



                                     22
110:17   A. No, not that I remember, no. It was a lady,

110:18   I want to say it was a lady, I don't know. I don't

110:19   know. But I know there was a man there.

110:20   Q. And did Tredarius have a gun that day?

110:21   A. Did he have one? Yeah, yes.

110:22   Q. And when he ran outside, did he have the

110:23   gun? When he came outside after the shooting, did he

110:24   have that gun?

110:25   A. Not that I seen, no.

111:01 Q. Did he have that gun inside your apartment

111:02 before the shooting?

111:03 A. No.

111:04 Q. Okay, so that day when you saw Tredarius

111:05 with the gun, when was that?

111:06 A. Like early, like, because I was with him

111:07 earlier that day, earlier that day.

111:08 Q. So earlier in the day, the day Nasia was

111:09 shot, you saw Tredarius with a gun?

111:10   A. Yeah.

111:11   Q. What kind of gun?

111:12   A. I don't know.

111:13   Q. A pistol, hunting rifle, machine gun?

111:14   A. No. No. Hold on, what?



                                     23
111:15   Q. What kind of gun was it generally?

111:16   A. Like a regular gun, handgun, a regular gun.

111:17   Yeah.

111:18   Q. And were there other occasions when you'd

111:19   seen Tredarius with a gun?

111:20   A. Every now and then, yeah.

111:21   Q. And on that day in particular, I'm sorry.

111:22   Before Nasia walked outside to your car to get

111:23   something, had she been making any phone calls?

111:24   A. I don't know, I don't remember. I don't

111:25   know.

112:01 Q. Did she have a cell phone at this time?

112:02 A. Yeah, yeah, I think so.

112:03 Q. And do you recall her making any, doing any

112:04 text messaging?

112:05 A. No.

112:06 Q. Before she went outside?

112:07 A. Huh-uh (Indicating negatively), before she

112:08 went outside I was in the room with my daughter.

112:09 Q. Let's back up a second. So you, you said

112:10   you were somewhere earlier in the day?

112:11   A. Yeah.

112:12   Q. And you came home. Do you remember what



                                    24
112:13   time you came home?

112:14   A. No. No. I know it was nighttime.

112:15   Q. And when you came home, who was there?

112:16   A. Me, Tredarius, and Nasia.

112:17   Q. And Harmony, your daughter?

112:18   A. Yes, and Harmony.

112:19   Q. And you said something earlier about pizza.

112:20   A. Yeah, we went to Frank's and got, I know we

112:21   got pizza. I can't remember what else it was.

112:22   Q. And you brought that pizza and the food back

112:23   to your apartment?

112:24   A. Yes.

112:25   Q. And were you guys eating?

113:01 A. No, we never started eating.

113:02 Q. When you guys got back with the pizza, what

113:03 did you do?

113:04 A. I started, what did I do? I know I was in

113:05 Harmony's room getting her ready for bed.

113:06 Q. Which involves what? What were you doing to

113:07 get Harmony ready for bed?

113:08 A. By preparing her to get ready for a bath and

113:09 stuff.

113:10   Q. And how long did it take for you to get



                                    25
113:11   Harmony ready for bed? Or how long did it take back

113:12   in 2016?

113:13   A. When she cooperate, not that long I don't

113:14   think. Maybe about ten minutes.

113:15   Q. And when she doesn't cooperate?

113:16   A. She, maybe a little longer than that. Maybe

113:17   like twenty, fifteen, twenty.

113:18   Q. And on that evening, the evening Nasia got

113:19   shot in North Hills Court, do you remember whether

113:20   Harmony was cooperating or not cooperating in getting

113:21   ready for bed?

113:22   A. She was being good that day.

113:23   Q. And when you were back in Harmony's bedroom

113:24   getting her ready for bed, where was Tredarius?

113:25   A. In the living room.

114:01 Q. And where was Nasia when you were getting

114:02 Harmony ready for bed?

114:03 A. In the bed, like in her room, I believe. I

114:04 don't remember if she was in my room or her room.

114:05 Q. But she wasn't with you?

114:06 A. Uh-uh (Indicating negatively).

114:07 Q. And Tredarius wasn't with you?

114:08 A. Hm-mmm (Indicating negatively).



                                     26
114:09 Q. Is that a no?

114:10   A. No.

114:11   Q. And at some point, Nasia went outside?

114:12   A. Yes.

114:13   Q. How long had you guys been home before Nasia

114:14   went outside?

114:15   A. I don't know. I don't know. Maybe like, I

114:16   don't know, maybe like twenty minutes.

114:17   Q. And how do you know Nasia was going out to

114:18   your car to get something?

114:19   A. She said she was.

114:20   Q. And then she left?

114:21   A. Yeah.

114:22   Q. At no point did Tredarius leave?

114:23   A. No.

114:24   Q. Now after the shooting occurred, Nasia got

114:25   medical help, right?

115:01 A. Yes.

115:02 Q. Did you ever talk about that shooting with

115:03 Nasia and what happened when she was outside?

115:04 A. Yeah.

115:05 Q. I mean, you love her, right?

115:06 A. Yeah.



                                      27
115:07 Q. She's like a sister to you, right?

115:08 A. Mm-hmm (Indicating affirmatively).

115:09 Q. Is that a yes?

115:10   A. Yes.

115:11   Q. And what, and you asked her about, when your

115:12   sister whom you love got shot, right?

115:13   A. Yes.

115:14   Q. And what did she say?

115:15   A. She was just like, we were in the hospital,

115:16   I know. She was just like, she went to the car to get

115:17   some bags, she turned around, and she got shot.

115:18   Q. By who?

115:19   A. At the time, she, no, she never told me who.

115:20   She was just like she got shot.

115:21   Q. Did you ask her who?

115:22   A. No.

115:23   Q. Did she indicate how many people were

115:24   outside when she got shot?

115:25   A. No.

116:01 Q. Did she indicate how many shooters there

116:02 were when she got shot?

116:03 A. No.

116:04 Q. So what do you know of what happened



                                    28
116:05 outside? What happened when Nasia was outside?

116:06 A. She got shot.

116:07 Q. That's all you know? The sister who you

116:08 love, all you know is she got shot?

116:09 A. She got shot. I don't know. She didn't

116:10   really tell me much. I just know she got shot and

116:11   they had, I guess it had something to do with her

116:12   stealing or whatever. I don't know the situation with

116:13   the Philly Boys.

116:14   Q. And that's all you know about that? There

116:15   was some kind of situation with the Philly Boys and

116:16   she got shot, nothing else?

116:17   A. The situation with them and her, yeah.

116:18   Q. And did you ever talk to your brother,

116:19   Tredarius, who was living with you at the time?

116:20   A. About that?

116:21   Q. About the shooting when Nasia got shot.

116:22   A. No.

116:23   Q. I'm sorry, I'm not trying to be critical,

116:24   Ms. Ross. But someone you say you love ...

116:25   A. Right.

117:01 Q. ... who you call sister, and someone who you

117:02 call brother who was living with you, this incident



                                       29
117:03 happens. Your sister gets shot and you don't, you

117:04 don't know what happened?

117:05 A. I mean, I only know what she tells me.

117:06 Q. And what did she tell you happened outside

117:07 that day?

117:08 A. She went outside to the car and, I mean, I

117:09 don't even remember. It was people out there and

117:10   they, just shooting.

117:11   Q. What people were out there?

117:12   A. I don't know. She was just like it was

117:13   boys.

117:14   Q. Did Tredarius ever tell you what happened

117:15 that day?

117:16   A. No, he was just like, he told her not to go

117:17   outside.

117:18   Q. Did you ever talk about that incident with

117:19   anyone other than Nasia or Tredarius?

117:20   A. I don't know.

117:21   Q. Did you ever talk about that incident with

117:22   Phillip?

117:23   A. We got to arguing, I believe, about it.

117:24   Q. And what were you guys arguing about?

117:25   A. Nasia going outside.



                                    30
118:01 Q. Why were you arguing about Nasia going

118:02 outside? Where's the argument there?

118:03 A. I don't know, he just, I guess he was mad

118:04 because she got shot with a, and he was like why,

118:05 something about why you all let her go outside. And I

118:06 was like, what's you all, because I didn't have

118:07 nothing, not I didn't have nothing to do with it, but

118:08 she grown.

118:09 Q. And why was he upset that Nasia had gone

118:10   outside?

118:11   A. That's his cousin. I think they cousins.

118:12   Q. Ms. Ross, was Phillip Miles outside

118:13   shooting?

118:14   A. I don't know.

118:15   Q. Was Shoota outside shooting?

118:16   A. I don't know.

118:17   Q. Was Truck outside shooting?

118:18   A. I don't know.

118:19   Q. Was Spazz outside shooting?

118:20   A. I don't know. Who?

118:21   Q. Was Shon Don outside shooting?

118:22   A. I don't know, I don't know.

118:23   Q. Was Gates outside shooting?



                                    31
       118:24    A. No.

       118:25    Q. Was L.A. outside shooting?

       119:01 A. I don't know. I don't know.

       119:02 Q. What have you heard happened that day?

       119:03 A. She, she just, I don't know, something

       119:04 happened while she was over there with some boys and I

       119:05 guess they, she just went over there with some boys.

       119:06 Something came up missing or she stole something from

       119:07 them or whatever the situation was. She came off, she

       119:08 went outside and she got shot.


The exclusion of the above-referenced passage is but one example of the government’s

effort to control the narrative in a way that prejudices Ross (and other defendants).

       Similarly with respect to the August 20, 2016 shooting, although the United States

has included some of Ross’s testimony concerning “the day that Mouse got killed at

North Hills Court (page 124, line 15 – 127 line 2), additional testimony (page 127, line 3

– 129, line 13) should also be included under FRE 106 and 402,


       127:03 Q. And where did you guys go?

       127:04 A. We went to Megabounce and Pizza Hut.

       127:05 Megabounce and Pizza Hut.

       127:06 Q. And what time did you go to Megabounce?

       127:07 A. Ah, shoot, I don't know. It was a birthday

       127:08 party.



                                             32
127:09 Q. For whom?

127:10   A. For my little cousin.

127:11   Q. Which cousin?

127:12   A. Baby, he a baby. Well, not baby.

127:13   Q. What's his name?

127:14   A. Jayden.

127:15   Q. What's Jayden's last name?

127:16   A. Ross.

127:17   Q. Who's his mama?

127:18   A. Ulissa Ross.

127:19   Q. And who is Ulissa Ross?

127:20   A. My aunt.

127:21   Q. So you went to Bounce, you don't remember

127:22 the time.

127:23   A. Right.

127:24   Q. How did you get to Bounce, Megabounce?

127:25   A. My aunt picked me up, picked me and Harmony

128:01 up.

128:02 Q. And who was with you in the car when your,

128:03 which aunt is this?

128:04 A. What you mean?

128:05 Q. Which aunt picked you up? You said my aunt

128:06 picked me up. I'm asking you with aunt.



                                    33
128:07 A. My aunt Ulissa.

128:08 Q. And was anyone with Ulissa Ross when she

128:09 picked you up?

128:10   A. No, well, I don't know. I can't remember if

128:11   her, yeah, my cousins was with me. My cousins, my

128:12   little cousins and my big cousin. I want to stay her

128:13   stepkids, no, her stepkids wasn't with us. No, they

128:14   wasn't with us.

128:15   Q. So can't remember what time Ulissa Ross

128:16   picked you up. Did she pick you up at North Hills

128:17   Court?

128:18   A. Yes.

128:19   Q. And who was with her, by name?

128:20   A. It was Ulissa Ross, Latisha, Jayden Ross,

128:21   Jordan Ross, them were the people that came with her.

128:22   Q. And you said it was big cousins, little

128:23   cousins, so you know all your cousins' names, right?

128:24   A. Yes.

128:25   Q. Okay, who else was in that car with Ulissa

129:01 Ross when she picked you up at North Hills Court?

129:02 A. That was it.

129:03 Q. That was it?

129:04 A. Yes.



                                    34
       129:05 Q. So it was Ulissa Ross, Latisha, Jayden, and

       129:06 Jordan?

       129:07 A. Yes.

       129:08 Q. And then you?

       129:09 A. Yes, me and Harmony.

       129:10    Q. And when she picked you up, what kind of car

       129:11    was she driving?

       129:12    A. It's one of them big trucks. A Suburban

       129:13    maybe. Like a newer model.


       Similarly, although the United States offers Ross testimony at page 129, line 14 –

24, the Court also should include page 129, line 25 – 140, line 18,


       129:25    Q. And you went to Megabounce and how long were

       130:01 you there?

       130:02 A. It felt like all day. It was about all day,

       130:03 because I didn't come back home until like 10:00,

       130:04 maybe a little after 10:00. Because after we left

       130:05 Megabounce, we went to Pizza Hut and stayed at Pizza

       130:06 Hut until it closed.

       130:07 Q. Which Pizza Hut?

       130:08 A. Piney Forest, right across from Megabounce.

       130:09 Well, where Megabounce was at the time.

       130:10    Q. And so you don't know how long you're at



                                             35
130:11   Megabounce?

130:12   A. No.

130:13   Q. Do you know what time you went to Pizza Hut?

130:14   A. Right after we left Megabounce. I don't

130:15   know the time.

130:16   Q. And how did you get from Megabounce to Pizza

130:17   Hut?

130:18   A. I rode with my aunt in her car.

130:19   Q. And who else was in the car.

130:20   A. The same people.

130:21   Q. The same people you listed earlier?

130:22   A. Yes.

130:23   Q. Who?

130:24   A. Me, my aunt, no, her stepkids, I think her

130:25   stepkids had got in the car. Well, one of them.

131:01 Yeah, one of them. It was me, Latisha, because she a

131:02 twin. I think it was Latisha. Me, Latisha, Jordan,

131:03 Jayden, Harmony, and Kiki. That's her stepdaughter.

131:04 Q. And how long were you at Pizza Hut?

131:05 A. Until they closed.

131:06 Q. Until close?

131:07 A. Yes.

131:08 Q. Which was what time?



                                    36
131:09 A. Shoot, I think they close at 10:00 maybe.

131:10   Maybe. I don't know. I want to say, I know we was

131:11   there until they closed.

131:12   Q. And then what did you do?

131:13   A. I went home.

131:14   Q. Back to your apartment in North Hills Court?

131:15   A. Yes.

131:16   Q. And how long did it take you to get from

131:17   Pizza Hut to your apartment at North Hills Court?

131:18   A. I don't know. Maybe fifteen minutes. About

131:19   fifteen minutes.

131:20   Q. What time did you get home to North Hills

131:21   Court that night?

131:22   A. I don't know. I don't know. I guess around

131:23 that time, 10:15 or so. I don't know.

131:24   Q. And when you got to your apartment, who was

131:25   there?

132:01 A. Bub, Nasia.

132:02 Q. Who else?

132:03 A. Phillip and Shon Don.

132:04 Q. Who else?

132:05 A. That's all.

132:06 Q. You've given other names on other occasions.



                                    37
132:07 Why are you giving only these four names now?

132:08 A. I'm trying to think.

132:09 Q. When you walked in, you saw Shon Don. Where

132:10   was he?

132:11   A. To my right.

132:12   Q. What does that mean? In the living room?

132:13   A. Yeah. Well, no, no, no. Not my living

132:14   room. It's like, I don't know, I can't describe.

132:15   Like I wouldn't call it a dining area, but that's

132:16   where my kitchen table and stuff was and then my

132:17   living room in front of that. So by my kitchen table.

132:18   Q. What was Shon Don doing by your kitchen

132:19   table?

132:20   A. Standing there.

132:21   Q. What was he doing, just standing there?

132:22   A. Yeah, standing there. When I walked in,

132:23   yeah, he was standing there.

132:24   Q. And after you walked in, what was he doing?

132:25   A. I went to the backwhen I walked in, so.

133:01 Q. When you walked in you saw Shon Don?

133:02 A. Yes.

133:03 Q. Where was, you said Bubs was there?

133:04 A. Yes.



                                     38
133:05 Q. Where was he?

133:06 A. He was just coming up the hallway.

133:07 Q. From where?

133:08 A. From walking towards the back.

133:09 Q. So he was coming from the back to the front?

133:10   A. Yes.

133:11   Q. And what was he doing?

133:12   A. He was just walking towards the, walking

133:13   towards, well, walking down the hallway. Then he, I

133:14   don't know, because I had came in with an attitude and

133:15   he told me to fix my face. I said, I forgot what I

133:16   said to him. Something smart.

133:17   Q. Why did you come in with an attitude?

133:18   A. Because before I came in, me and my aunt had

133:19   an argument before I had came in. So I was already

133:20   mad.

133:21   Q. And what were you and your aunt arguing

133:22   about?

133:23   A. I had just told her I was four months

133:24   pregnant.

133:25   Q. And she was arguing with you about that?

134:01 A. Yes.

134:02 Q. Okay. And so you came in with an attitude



                                     39
134:03 and Bub says fix your face?

134:04 A. Yes.

134:05 Q. And then did you respond?

134:06 A. I think I told him shut the F up.

134:07 Q. And who else was in your apartment?

134:08 A. Phillip.

134:09 Q. And what was Phillip doing?

134:10   A. Standing there. Just standing there.

134:11   Q. And who else was in your apartment?

134:12   A. Shoota.

134:13   Q. Who else?

134:14   A. Kevin had came, but he left.

134:15   Q. What do you mean, Kevin had came but he

134:16   left?

134:17   A. Like he came in.

134:18   Q. While you were there?

134:19   A. Yeah, and then he left.

134:20   Q. Is that the same Kevin Trent we've been

134:21   talking about?

134:22   A. Yes.

134:23   Q. And when Kevin Trent came into your

134:24   apartment while you were there, what did he do?

134:25   A. I went to the back. He came in like right



                                      40
135:01 behind, well, not right behind me, but, yeah, so I

135:02 don't know. I went to the back.

135:03 Q. And who else was in your apartment?

135:04 A. Quante, Laquante.

135:05 Q. I'm sorry?

135:06 A. Laquante.

135:07 Q. Laquanta?

135:08 A. Laquante.

135:09 Q. The same Laquante we were talking about

135:10   earlier?

135:11   A. Yes.

135:12   Q. Spazzo? Spazz?

135:13   A. Yeah. Laquante.

135:14   Q. Do you know Laquante's last name?

135:15   A. Adams.

135:16   Q. And what was he doing when you came in?

135:17   A. Sitting down.

135:18   Q. Where?

135:19   A. On my couch.

135:20   Q. And who else was in there?

135:21   A. I believe that's it.

135:22   Q. And you didn't tell us, what was Nasia doing

135:23   when you walked in?



                                   41
135:24   A. She was in her room in the back.

135:25   Q. Now you remember being interviewed by the

136:01 Danville Police Department?

136:02 A. Yes.

136:03 Q. In fact, you've been interviewed by them now

136:04 a couple of times, right?

136:05 A. Twice, yes.

136:06 Q. Twice in the fall of 2017?

136:07 A. Once.

136:08 Q. Once in October of 2017 and once in November

136:09 of 2017?

136:10   A. Yes.

136:11   Q. Does that sound right?

136:12   A. Yes.

136:13   Q. And during that time, you provided other

136:14   names. Do you recall that?

136:15   A. Yes.

136:16   Q. So when you told the police other people

136:17   were there, were you lying to the police or are you

136:18   lying to the Grand Jury?

136:19   A. I, okay, I weren't lying to them, but,

136:20   because they kept asking me was Deshawn there, and I

136:21 told them no. But then like they just kept asking me



                                      42
136:22   and I was like no. Then I was just like yeah. But in

136:23 the end I told them no because from my understanding

136:24   he was at work. That's what I told them.

136:25   Q. How did you know Deshawn was at work if he

137:01 wasn't in your apartment?

137:02 A. Because, how did I know he was at work? I

137:03 believe he had, I don't know if he had posted about

137:04 it. I don't know. He was always at work then. From

137:05 my understanding he was at work.

137:06 Q. So you're saying you lied to the police when

137:07 you ...

137:08 A. No.

137:09 Q. ... told them that Deshawn Trent was in your

137:10   apartment that night?

137:11   A. No, I did not lie to them. I don't know.

137:12   Q. Well, you told them that Six was in your

137:13   apartment, right?

137:14   A. Yes.

137:15   Q. Why did you tell the police that Six was in

137:16   your apartment if that's a lie?

137:17   A. Because they kept, I don't know, they kept,

137:18   I don't know. I don't know. Like I'd tell them one

137:19 thing and then they'd try to make a lie out of it and



                                     43
137:20   I was just like, okay. Whatever.

137:21   Q. What else about, what else that you told the

137:22   police during that time that you were lying about, Ms.

137:23   Ross?

137:24   A. Nothing.

137:25   Q. Nothing? Everything else you told the

138:01 police was true?

138:02 A. Yes.

138:03 Q. So is it true then when you told the police

138:04 that L.A. was in your apartment? Or was that also a

138:05 lie, Ms. Ross?

138:06 A. No. I don't, no. No.

138:07 Q. Which one is it?

138:08 A. Did I see him myself in my apartment? No.

138:09 Q. I'm sorry, you told the police that L.A. was

138:10   in your apartment that evening.

138:11   A. Yes.

138:12   Q. Truth or lie?

138:13   A. Truth.

138:14   Q. And you told the police that Shon Don was in

138:15   your apartment. Truth or lie?

138:16   A. Truth.

138:17   Q. And you told them that Phillip Miles was in



                                    44
138:18   your apartment and you said R. Truth?

138:19   A. Truth.

138:20   Q. And you told them that Bubba was in your

138:21   apartment. Truth?

138:22   A. Truth.

138:23   Q. And you told them that L.A. was there.

138:24   Truth?

138:25   A. Truth.

139:01 Q. And you told them that Gates was there.

139:02 Truth?

139:03 A. Yes.

139:04 Q. And you told them that Shoota was there. Is

139:05 that the truth?

139:06 A. Yes.

139:07 Q. And you told them that Truck was there. Is

139:08 that the truth?

139:09 A. Yes. I don't remember telling them for

139:10   real, but I don't know.

139:11   Q. Okay, so now you can't remember the truth or

139:12   the lies?

139:13   A. No, I just don't remember.

139:14   Q. Ms. Ross, let's step back before you get in

139:15   trouble. Let's step back a second.



                                    45
139:16   A. Okay.

139:17   Q. You walk into your apartment the night Mouse

139:18   was killed in North Hills Court.

139:19   A. Mm-hmm (Indicating affirmatively).

139:20   Q. Are we on the same page?

139:21   A. Yes.

139:22   Q. Who's in your apartment?

139:23   A. Me, well, me of course. Me, Harmony, Shon

139:24   Don, Phillip, Laquante, Tredarius, Tanasia, Kevin had

139:25   came in behind me. I mean, Six and L.A., if I said

140:01 it, then, yeah.

140:02 Q. I'm sorry?

140:03 A. Yeah, Six and L.A.

140:04 Q. Six was there?

140:05 A. Yes.

140:06 Q. And L.A. was there?

140:07 A. Yes.

140:08 Q. So you were just telling us L.A. wasn't

140:09 there. I mean, I'm sorry, that Six was not there.

140:10   Let's just be precise. Was Six there or not? Under

140:11 oath in the Grand Jury sitting here today, was Six

140:12 there or not?

140:13   A. Yes, I told him that they was there.



                                    46
       140:14    Q. I'm asking you the truth of what happened

       140:15    that night, Ms. Ross. I'm not asking, Ms. Ross, I

       140:16    just want to be clear. I'm not asking you to remember

       140:17    what you told the Danville Police.

       140:18    A. Right.


       Next, to the extent the United States seeks to offer any of Ross’s testimony about

“who was in [her] apartment the night Mouse was killed (page 140, line 19 – 24), the

Court must admit the remainder of Ross’s testimony concerning this line of questioning

(page 140, line 25 – 144, line 3),


       140:25    Q. Who was there, then? Sitting here today

       141:01 under oath in front of this Grand Jury, who was in

       141:02 your apartment the night Mouse was killed?

       141:03 A. Me, Harmony, Shon Don, Phillip, Laquante,

       141:04 Kevin came in and went back out, Tanasia, Tredarius.

       141:05 Shoot, I lost track. I think. And I didn't see

       141:06 Kanash for myself, but I was told that he was there.

       141:07 Q. Who told you Kanash was there?

       141:08 A. Nasia.

       141:09 Q. Now earlier you told the Grand Jury that

       141:10    Shoota was there.

       141:11    A. Oh, yes.

       141:12    Q. Was Shoota there?



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141:13   A. Yes.

141:14   Q. And earlier, okay, now sitting here today

141:15   under oath, you're saying that Deshawn Trent was not

141:16   in your apartment?

141:17   A. Not while I was there, no.

141:18   Q. Not while you were there?

141:19   A. Yes.

141:20   Q. So why do you say that, not while you were

141:21   there?

141:22   A. Because from my understanding while I

141:23   weren't there he was there earlier that day.

141:24   Q. And who told you that? How'd you get that

141:25   understanding?

142:01 A. Tanasia.

142:02 Q. Now why did you tell Six that, I'm sorry,

142:03 why did you tell the police that Deshawn Trent was in

142:04 your apartment that night when you came home?

142:05 A. I don't know. Because they, I don't know.

142:06 I don't know about, I honestly don't know. I was

142:07 just, I don't remember.

142:08 Q. And why did you tell the police that L.A.

142:09 was in your apartment when you came home?

142:10   A. Because them was the main two. It was like,



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142:11   them was the main two they was, well, not the main

142:12 two, but they was pressuring me to say that they was

142:13 there and I was just like, okay, whatever, like, okay.

142:14   Q. And you're aware that those interviews are

142:15   recorded?

142:16   A. Yes. And it was recorded and it was the

142:17   second time that I met with them, you will hear me try

142:18   not to tell them again that, about them being there.

142:19   You will hear that.

142:20   Q. Okay. Now what about Truck? Sitting here

142:21   today under oath before the Grand Jury, was Truck

142:22   there?

142:23   A. I did not see him myself, but I heard he was

142:24   there.

142:25   Q. And who told you that Truck was there?

143:01 A. Tanasia.

143:02 Q. What about Tae, was he there?

143:03 A. Who?

143:04 Q. Tae. Tyson.

143:05 A. Oh, I don't know.

143:06 Q. And you've also told the police that you

143:07 think Stevie Johnson might have been there. Was he

143:08 there? Sitting here today under oath before this



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       143:09 Grand Jury, do you remember Stevie Johnson being

       143:10 there?

       143:11    A. I don't remember seeing him myself.

       143:12    Q. Do you remember hearing that he had been

       143:13    there?

       143:14    A. Yes.

       143:15    Q. Who told you that?

       143:16    A. I'm trying to think. I'm thinking about it.

       143:17    No, nobody told me that.

       143:18    Q. Was Tenikqua Fuller in there?

       143:19    A. In my house? No.

       143:20    Q. Was Taniqua Guy there?

       143:21    A. No.

       143:22    Q. Was Shanicqua Coleman there?

       143:23    A. No.

       143:24    Q. Was there any females other than Nasia

       143:25    Coleman?

       144:01 A. No, just me, her, and Harmony.

       144:02 Q. Was Jaquia there?

       144:03 A. No,


as well as page 144, line 6 – 145, line 5,




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144:06 Q. Was Bubba there?

144:07 A. Yes.

144:08 Q. Okay, I apologize. You did say that

144:09 Tredarius came. I apologize.

144:10   Q. Anyone else?

144:11   A. No.

144:12   Q. Did anyone have guns?

144:13   A. When I walked in there was two on the table,

144:14   but I never saw it in nobody's hand personally.

144:15   Q. Did you see any guns on people or in their

144:16   hands?

144:17   A. No.

144:18   Q. But you saw the two guns on the table?

144:19   A. Yes.

144:20   Q. What table?

144:21   A. My kitchen table. Well, not kitchen table,

144:22   but, yeah, my, yeah.

144:23   Q. Pistols? Were they pistols?

144:24   A. Yes.

144:25   Q. Handguns?

145:01 A. Yes.

145:02 Q. Were they your guns?

145:03 A. No.



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       145:04 Q. Whose guns were they, do you know?

       145:05 A. No.


       WHEREFORE, Ashley Tiana Ross, by counsel, requests entry of an order

sustaining her objections as stated herein.


                                                    Respectfully submitted,

                                                    ASHLEY TIANA ROSS

                                                    By     /s/Terry N. Grimes
                                                          Of Counsel

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                             CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was electronically filed with the

Clerk of the Court using the CM/ECF system, and that a true and accurate copy of the

foregoing was sent via the CM/ECF system to all counsel of record on the 25th day of

September, 2019.

                                                            /s/ Terry N. Grimes
                                                                Terry N. Grimes




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